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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    EXPRESS, INC., et al., 1                                         )     Case No. 24-10831 (KBO)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                            NOTICE OF THE OCCURRENCE
             OF SALE CLOSING OF THE STALKING HORSE APA ON JUNE 21, 2024

             PLEASE TAKE NOTICE that on April 22, 2024, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Motion of Debtors for Entry of an

Order (I) Approving Bidding Procedures and Bid Protections, (II) Scheduling Certain Dates and

Deadlines with Respect Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV)

Establishing Notice and Procedures for the Assumption and Assignment of Contracts and Leases,

(V) Authorizing the Assumption and Assignment of Assumed Contracts, (VI) Authorizing the Sale

of Assets; and (VII) Granting Related Relief, [Docket No. 41] (the “Bidding Procedures

Motion”). 2 The proposed bidding procedures (the “Proposed Bidding Procedures”) were attached

as Exhibit 1 to the Bidding Procedures Motion.

             PLEASE TAKE NOTICE that on April 24, 2024, the Court entered the Interim Order (I)

Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Grant Senior Secured Liens and


1     The Debtors in these chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification
      numbers, are Express, Inc. (8128), Express Topco LLC (8079); Express Holding, LLC (8454); Express Finance
      Corp. (7713); Express, LLC (0160); Express Fashion Investments, LLC (7622); Express Fashion Logistics, LLC
      (0481); Express Fashion Operations, LLC (3400); Express GC, LLC (6092); Express BNBS Fashion, LLC
      (3861); UW, LLC (8688); and Express Fashion Digital Services Costa Rica, S.R.L. (7382). The location of
      Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is One Express
      Drive, Columbus, Ohio 43230.
2     Capitalized terms used herein but not otherwise defined shall have meanings ascribed to them in the Bidding
      Procedures Motion, the proposed Bidding Procedures, or the Interim DIP Order, as applicable.
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Superpriority Administrative Expense Claims, and (C) Utilize Cash Collateral; (II) Granting

Adequate Protection to the Prepetition Secured Parties; (III) Modifying the Automatic Stay; (IV)

Scheduling Final Hearing; and (V) Granting Related Relief [Docket No. 85] (the “Interim DIP

Order”). The Interim DIP Order sets forth certain milestones related to the sale of all or

substantially all of the Debtors’ assets, or, in the alternative, the orderly liquidation of the Debtors’

inventory and an exit from their retail store locations (“DIP Milestones”), including that the

Debtors must sign a going-concern stalking horse asset purchase agreement (a “Stalking Horse

APA”) in accordance with the Interim DIP Order or DIP Credit Agreements by no later than May

22, 2024.

         PLEASE TAKE FURTHER NOTICE that on May 22, 2024, pursuant to and in

accordance with the Proposed Bidding Procedures, the Interim DIP Order, and DIP Credit

Agreements, and the DIP Milestones thereunder, the Debtors, specifically, Express Inc. and certain

of its subsidiaries, executed the Stalking Horse APA with Phoenix Retail, LLC (the “JV

Purchaser”), a consortium consisting of PHXWHP, LLC, an affiliate of EXPWHP, LLC and

affiliates of certain of the Debtors’ landlords, specifically, SPG Fashion Retail, LLC and BPR

Acquisitions LLC, and have selected the JV Purchaser to act as the stalking horse bidder

(the “Stalking Horse Bidder”) for the Debtors’ business operations (as part of the Acquired Assets

and Assumed Liabilities under the Stalking Horse APA (each as defined in the Stalking Horse

APA)).

         PLEASE TAKE FURTHER NOTICE that the Debtors filed the Notice of Selection of

Stalking Horse Bidder [Docket No. 305] (the “Original Notice”) on May 24, 2024. On May 30,

2024, the Debtors filed the Notice of Revised Proposed Order with Respect to Motion of Debtors

for Entry of an Order (I) Approving Bidding Procedures and Bid Protections, (II) Scheduling


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Certain Dates and Deadlines with Respect Thereto, (III) Approving the Form and Manner of

Notice Thereof, (IV) Establishing Notice and Procedures for the Assumption and Assignment of

Contracts and Leases, (V) Authorizing the Assumption and Assignment of Assumed Contracts, (VI)

Authorizing the Sale of Assets; and (VII) Granting Related Relief [Docket No. 319] as further

revised on June 4, 2024 [Docket No. 394].

        PLEASE TAKE FURTHER NOTICE that the Debtors filed the Revised Notice of

Selection of Stalking Horse Bidder [Docket No. 414] (the “Revised Notice”) on June 5, 2024.

        PLEASE TAKE FURTHER NOTICE that, on June 6, 2024, the Court approved the

Final Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing, (B) Grant Senior

Secured Liens and Superpriority Administrative Expense Claims, and (C) Utilize Cash Collateral;

(II) Granting Adequate Protection to the Prepetition Secured Parties; (III) Modifying the

Automatic Stay; (IV) Scheduling Final Hearing; and (V) Granting Related Relief [Docket No.

419].

        PLEASE TAKE FURTHER NOTICE that, on June 6, 2024, the Court approved the

Order (I) Approving Bidding Procedures and Bid Protections, (II) Scheduling Certain Dates and

Deadlines with Respect Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV)

Establishing Notice and Procedures for the Assumption and Assignment of Contracts and Leases,

(V) Authorizing the Assumption and Assignment of Assumed Contracts, (VI) Authorizing the Sale

of Assets; and (VII) Granting Related Relief [Docket No. 427].

        PLEASE TAKE FURTHER NOTICE that, on June 13, 2024, the Debtors filed a further

Revised Notice of Selection of Stalking Horse Bidder [Docket No. 460] (the “Second Revised

Notice”).

        PLEASE TAKE FURTHER NOTICE that on June 14, 2024, the Court entered the Order


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(I) Approving Asset Purchase Agreement; (II) Authorizing and Approving Sale of Certain Assets

of Debtors Pursuant to Section 363 of the Bankruptcy Code Free and Clear of All Liens, Claims,

Interests, and Encumbrances; (III) Approving the Assumption, Assignment and Sale of Certain

Executory Contracts and Unexpired Leases Pursuant to Section 365 of the Bankruptcy Code; (IV)

Authorizing the Debtors to Consummate Transactions Related to the Above; and (V) Granting

Related Relief [Docket No. 471] (the “Sale Order”), which approved (i) the Debtors’ entry into

and performance under the Stalking Horse Agreement and authorizing the sale of substantially all

of the Debtors’ assets free and clear of all liens, claims, interest, and encumbrances and (ii) the

assumption by the Debtors and the assignment and sale to the Purchaser of executory contracts

and unexpired leases as “Assumed Contracts” pursuant to the Sale Orders, the Stalking Horse

APA, and sections 363 and 365 of the Bankruptcy Code, subject to, and effective as of, the closing

of the Sale Transactions

       PLEASE TAKE FURTHER NOTICE that, on June 13, 2024, June 15, 2024, and June

21, 2024, the Debtors filed the Notice of Assumption of Certain Executory Contracts And/Or

Unexpired Leases [Docket Nos. 446 – 452, 474–475, 527–523].

       PLEASE TAKE FURTHER NOTICE that, the Closing Date of the sale transaction

under the Stalking Horse APA occurred on June 21, 2024.

       PLEASE TAKE FURTHER NOTICE that copies of all documents filed in the

above-captioned chapter 11 cases may be obtained free of charge by visiting the website of Stretto

at https://cases.stretto.com/express/. You may also obtain copies of any filed documents by

visiting the Court’s website at https://courts.delaware.gov/chancery/ in accordance with the

procedures and fees set forth therein.




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Dated: June 24, 2024
Wilmington, Delaware

/s/ Domenic E. Pacitti
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